                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

          Plaintiff,                   Case No. 1:22−mj−256

   v.                                  Hon. Ray Kent

GERALD BENNETT,

          Defendant.
                                 /



                                  ORDER
      The Court having been informed by counsel the motion is no longer
necessary, ECF No. 16 is denied as moot.

        IT IS SO ORDERED.


Dated: July 29, 2022                         /s/ Ray Kent
                                            RAY KENT
                                            U.S. Magistrate Judge
